      Case 1:14-cv-01025-RB-SMV Document 370 Filed 05/14/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                               No. 1:14-cv-1025 RB/SMV

THE CITY OF ALBUQUERQUE,

       Defendant,

v.

THE ALBUQUERQUE POLICE
OFFICERS' ASSOCIATION,

       Intervenor.


                                             ORDER

       This matter is before the Court pursuant to the Parties’ Joint Stipulation Suspending, in

Part, Paragraph 184 of the Court-Approved Settlement Agreement and Joint Brief Explaining the

Basis for Partial Suspension. (See Doc. 368.) The Court notes that the Parties’ stipulation has the

approval of the Independent Monitor and the consent of the Albuquerque Police Officers’

Association. Having reviewed the proposed suspension and the underlying rationale, the Court

accepts the suspension.

       IT IS ORDERED that the Joint Stipulation Suspending, in Part, Paragraph 184 of the

Court-Approved Settlement Agreement is accepted effective immediately.



                                                     ___________________________________
                                                     HONORABLE ROBERT C. BRACK
                                                     UNITED STATES DISTRICT JUDGE
